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Of Attorneys for Plaintiff




                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                     EUGENE DIVISION



 MARIA GUADALAUPE MERAZ,                                      Case No.

                              Plaintiff,
                                              COMPLAINT
 v.                                           Employment Discrimination (U.S.C. §§
                                              2000e-2, 3, et al)
 VAN’S NURSERY, INC., an Oregon               DEMAND FOR JURY TRIAL
 corporation,

                              Defendant.




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                                       INTRODUCTION
       Plaintiff Maria Guadalupe Meraz’s co-worker harassed and assaulted her at work.

Plaintiff’s employer, Van’s Nursery, Inc., (“Van’s Nursery”) not only failed to take appropriate

action to prevent further harassment, it terminated her employment because she reported the

harassment. Plaintiff seeks her damages, attorneys fees, and costs as a result of the unlawful

discrimination she suffered at work.

                                        JURISDICTION

   1. This Action arises in part under Title VII of the Civil Rights Act of 1964 (Title VII) and

       this Court has jurisdiction over action brought under Title VII pursuant to 42 U.S.C. §

       2000e-5(f)(3).

   2. This Court additionally has jurisdiction over this Action pursuant to 28 U.S.C. § 1331 as

       it arises under the laws of the United States and pursuant to 28 U.S.C. §1343(a)4) as it

       arises under an Act of Congress providing for the protection of civil rights.

   3. Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over Plaintiff’s

       state law claims, as they are so related to the claims within the Court’s original

       jurisdiction that they form part of the same case and controversy under Article 3 of the

       United States Constitution.

   4. Venue is proper is this District pursuant to 28 U.S.C. § 1391(b) given that Defendant

       resides in Oregon, conducts regular business in Oregon, and all of the events giving rise

       to Plaintiff’s claims occurred in Oregon.

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                                                PARTIES

   5. Plaintiff Maria Guadalupe Meraz is a woman who at all times relevant was a resident of

      Marion County, Oregon and was employed by Defendant Van’s Nursery from

      approximately April 10, 2017 until January 3, 2019.

   6. At all times relevant, Defendant Van’s Nursery was a domestic corporation doing

      business in Oregon; the nursery is located in Salem, Oregon (Marion County).

   7. At all times relevant, Defendant employed at least 15 people and was engaged in industry

      affecting commerce.

   8. Robert Van Klaveren is the President of Van’s Nursery and the direct supervisor of Van’s

      Nursery’s employees, including Plaintiff.

                        EXHAUSTION OF ADMINISTATIVE REMEDIES

   9. On or about October 28, 2019, Plaintiff timely and simultaneously filed charges against

      Defendant with the Oregon Bureau of Labor and Industries (BOLI) and with the Equal

      Employment Opportunities Commission (EEOC) pursuant to a work sharing agreement

      between the two agencies.

   10. On October 28, 2020, BOLI issued Plaintiff notice of her right to file a private civil suit

      with regard to her 659A.030 claims.

   11. On January 25, 2021, EEOC emailed and mailed Plaintiff notice of her right to file a

      private civil suit with regard to her Title VII claims.

                                             FACTS

   12. Beginning in 2017 and throughout her employment with Van’s Nursery, Plaintiff's co-

      worker, Artemio Calzado, subjected her to unwelcome and inappropriate comments and


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      touching at work, including insisting that she have sex with him, hugging her without her

      permission, and assaulting her by touching her inner thigh on at least two occasions.

   13. Initially, Mr. Calzado frequently oogled Plaintiff while she worked, causing her

      discomfort and humiliation.

   14. Throughout her employment, Mr. Calzado also walked very closely behind Plaintiff at

      work, causing her discomfort, fear and anxiety.

   15. In the fall of 2017, Mr. Calzado hugged Plaintiff without her permission and she told him

      to stop and that his actions upset her.

   16. Mr. Calzado continued to stare and touch Plaintiff at work on an almost daily basis

      throughout her employment.

   17. During this time, while they were working, Mr. Calzado also began asking Plaintiff for

      sex. Plaintiff always opposed his advances.

   18. Mr. Calzado called other women at work derogatory terms such as “slut” and “whore,"

      which Plaintiff considered to be disrespectful and degrading to women, including herself.

   19. Plaintiff considered Mr. Calzado's conduct towards her to be inappropriate and asked him

      to stop his harassment on many occasions but he ignored her.

   20. In July 2018, Mr. Calzado groped Plaintiff’s inner thigh with his hand, causing her

      discomfort, fear, anxiety, worry, and humiliation.

   21. The cumulative effect of the walking closely behind her, hugging, groping, and

      comments at work made Plaintiff apprehensive each day she worked. She was afraid the

      harassment would continue.

   22. Plaintiff reported the harassment to Robert Van Klaveren in July 2018.




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   23. In response to Plaintiff's report, Defendant did not perform an investigation and

      Defendant did not take any corrective or remedial actions or any actions to prevent future

      harassment. Mr. Calzado's conduct toward Plaintiff continued as before.

   24. In December 2018, Mr. Calzado again placed his hand on Plaintiff’s inner thigh at work

      and Plaintiff pushed it away.

   25. Plaintiff reported the incident to Mr. Van Klaveren the same day.

   26. Defendant did not investigate nor take any action to correct or prevent continued

      harassment in response to Plaintiff’s report regarding the second time Mr. Calzado

      touched her inner thigh at work.

   27. Less than a month later, Defendant terminated Plaintiff’s employment.

   28. Defendant told Plaintiff it terminated her because it had a rule that no more than three

      family members could work together. Defendant's reason for Plaintiff's termination was

      pretext as there was no such rule and Plaintiff did not have family workers working there

      at the time.

   29. Because of Defendant’s actions, Plaintiff has suffered and continues to suffer emotional

      distress including but not limited to anxiety, fear, discomfort, worry, and humiliation.

                                       CLAIMS FOR RELIEF

                     First Claim- Sexual Harassment, 42 U.S.C. § 2000e-2(a)(1)

   30. Paragraphs 1-29 are incorporated by reference.

   31. By subjecting Plaintiff to unwelcome sexual advances and permitting a work

      environment in which Plaintiff was subject to harassment, discrimination, assault, and

      intimidation because of her sex, Defendant discriminated against Plaintiff in violation of

      42 U.S.C. § 2000e-2(a)(1).



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   32. The unwelcome sexual advances and work environment in which Plaintiff was subject to

      harassment, discrimination, assault, and intimidation interfered with the terms and

      conditions of her employment in violation of 42 U.S.C. § 2000e-2(a)(1).

   33. As a result of Defendant’s actions, Plaintiff is entitled to damages in an amount to be

      determined at trial and attorney fees and costs pursuant to 42 U.SC. § 2000e-5(k).

                      Second Claim- Sexual Harassment, ORS 659A.030(1)(a)

   34. Paragraphs 1-29 are incorporated by reference.

   35. By subjecting Plaintiff to unwelcome sexual advances and permitting a work

      environment in which Plaintiff was subject to harassment, discrimination, assault, and

      intimidation because of her sex, defendant discriminated against Plaintiff in violation of

      ORS 659A.030(1)(a).

   36. The unwelcome sexual advances and work environment in which Plaintiff was subject to

      harassment, discrimination, assault, and intimidation interfered with the terms and

      conditions of her employment in violation of ORS 659A.030(1)(b).

   37. As a result of Defendant’s actions, Plaintiff is entitled to damages in an amount to be

      determined at trial and attorney fees and costs pursuant to ORS 659A.885.

                      Third claim- Retaliation, 42 U.S.C. §2000e-3(a)

   38. Paragraphs 1-29 are incorporated by reference.

   39. By terminating Plaintiff’s employment after she reported harassment, Defendant

      retaliated against Plaintiff in violation of 42 U.S.C. §2000e-3(a).

   40. As a result of Defendant’s actions, Plaintiff is entitled damages in an amount to be

      determined at trial and attorneys fees and costs pursuant to 42 U.SC. § 2000e-5(k).

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                           Fourth Claim- Retaliation, ORS 659A.030(1)(f)

   41. Paragraphs 1-29 are incorporated by reference.

   42. By terminating Plaintiff’s employment after she reported harassment, Defendant

      retaliated against Plaintiff in violation of ORS 659A.030(1)(f).

   43. As a result of Defendant’s actions, Plaintiff is entitled to damages in an amount to be

      determined at trial and attorneys fees and costs pursuant to ORS 659A.885.

                                       PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

      Award judgment in favor of Plaintiff and against Defendant, for:

      a. Compensatory damages in an amount to be determined at trial;

      b. Costs and reasonable attorney fees, pursuant to 42 U.S.C. § 2000e-5(k) and ORS

      659A.885; and

      c. Such other relief that the Court may deem just and proper.

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                                   DEMAND FOR JURY TRIAL

      Plaintiff demands a jury trial as provided by Rule 38(a) of the Federal Rules of Civil

      Procedure.



      Dated this 26th day of January 2021.

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